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     IMPINJ, INC.
11

12                                    UNITED STATES DISTRICT COURT

13                                 NORTHERN DISTRICT OF CALIFORNIA

14

15                                                 Case No. 19-cv-03161-YGR
     IMPINJ, INC., a Delaware corporation,
16                             Plaintiff,          SECOND AMENDED COMPLAINT FOR
17                                                 PATENT INFRINGEMENT
            v.
18                                                 JURY TRIAL DEMANDED
     NXP USA, INC., a Delaware corporation,
19                             Defendant.
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                                                             SECOND AMENDED COMPLAINT FOR
                                                                      PATENT INFRINGEMENT
                                                                      Case No. 19-cv-03161-YGR
 1          Plaintiff Impinj, Inc. (“Impinj”), for its Second Amended Complaint, alleges as follows:

 2                                       NATURE OF THE CASE

 3          1.      This is a complex patent infringement action arising from Defendant’s copying of

 4   Impinj’s patented innovations, its infringement of multiple patents owned by Impinj, its refusal to

 5   cease such infringement, and its refusal to even meet with Impinj to address the dispute.

 6                                             THE PARTIES

 7          2.      Impinj is a Delaware corporation with its principal place of business in Seattle,

 8   Washington.

 9          3.      Defendant NXP USA, Inc. (“NXP”) is, on information and belief, a Delaware cor-

10   poration, with its corporate headquarters in Austin, Texas. NXP is, upon information and belief, a

11   subsidiary of NXP Semiconductors N.V. (“NXP Semiconductors”), a corporation headquartered in

12   Eindhoven, Netherlands.

13          4.      Venue is proper in this district under 28 U.S.C. § 1400(b) because NXP has com-

14   mitted acts of infringement and has a regular and established place of business in this district.

15                                IMPINJ AND ITS PATENT RIGHTS

16          5.      Impinj is a leading provider of RAIN RFID solutions, including hardware and soft-

17   ware products that wirelessly connect everyday items to the internet. More specifically, Impinj

18   sells a platform that includes endpoint integrated circuits (“ICs”), reader ICs, readers and gateways

19   that enable wireless connectivity to everyday items, and software that delivers information about

20   those connected items.

21          6.      Impinj was founded in March 2000 based on research done at the California Institute

22   of Technology by Carver Mead and Chris Diorio. Impinj has developed technology in connection

23   with radio frequency identification, known as “RFID.” Impinj has been instrumental in the devel-

24   opment of what is now known as RAIN RFID, as well as to the formation of the RAIN RFID global

25   alliance, which promotes the universal adoption of a certain type of RFID that uses ultra-high fre-

26   quency (“UHF”) radio waves and a communication protocol known as Gen2. From its inception,

27   Impinj has been known as a leading innovator, particularly in the RAIN RFID space. The United

28
                                                                    SECOND AMENDED COMPLAINT FOR
                                                     -1-                     PATENT INFRINGEMENT
                                                                             Case No. 19-cv-03161-YGR
 1   States Patent and Trademark Office has acknowledged many of Impinj’s innovations, awarding

 2   Impinj more than 250 issued patents and allowed applications.

 3           7.      Impinj’s RFID products include Monza RFID tag chips, which were the very first

 4   UHF Gen2 RFID tag chips. Impinj’s current Monza R6 IC chip was the most advanced RFID chip

 5   available when introduced, and it has important features and/or functionality such as consistently

 6   accurate and high-quality data delivery, improved yield, auto-tuning to optimize readability for the

 7   environment and application, and other advanced features that have been recognized by the indus-

 8   try. Impinj also sells Indy reader chips, Speedway readers and gateways, and ItemSense Software.

 9                                   NXP’S ACTS OF INFRINGEMENT

10           8.      NXP makes and sells ICs that are used in RFID tags and compete with Impinj RAIN

11   RFID ICs. NXP’s products include UCODE 7 and UCODE 8 ICs, which are sold to various cus-

12   tomers. The UCODE 8 IC was developed, on information and belief, by copying many of the

13   patented inventions in Impinj’s Monza R6 IC chip and in an attempt to mimic the quality and func-

14   tionality of Impinj’s Monza R6 IC.

15           9.      After Impinj became aware of NXP’s UCODE 8 ICs, it advised NXP Semiconduc-

16   tors, by letter dated August 11, 2017, that such ICs, and any associated RFID tags, were likely to

17   infringe many U.S. patents owned by Impinj, which were listed by patent number.

18           10.     In response, NXP by letter dated September 7, 2017, indicated it would need to see

19   a “claim chart” before it would discuss the issues.

20           11.     By letter dated September 14, 2017, Impinj suggested the parties meet in person,

21   and provided a draft non-disclosure agreement to facilitate such discussions.

22           12.     NXP indicated it would not enter into any non-disclosure agreement but reiterated

23   its request for claim charts.

24           13.     Since September 14, 2017, Impinj and NXP have exchanged correspondence relat-

25   ing to the dispute, including correspondence regarding infringement of Impinj’s patents by NXP’s

26   UCODE 7 and UCODE 8 ICs. Impinj has provided NXP, among other things, claim charts detailing

27   how NXP infringes the patents asserted below. Impinj has also requested, on multiple occasions,

28   that the parties meet to try to resolve the issues.
                                                                   SECOND AMENDED COMPLAINT FOR
                                                       -2-                  PATENT INFRINGEMENT
                                                                            Case No. 19-cv-03161-YGR
 1          14.     For many of the asserted patents, NXP has not denied that the claims read on its

 2   products, but it asserted that it is the beneficiary of a license under the EPCTM Specification for

 3   RFID Air Interface Protocol for Communications at 860 MHz – 960 MHz (“Gen2 protocol”). Un-

 4   der that protocol, Impinj agreed to license patent claims that were “necessary” to practice the Gen2

 5   protocol.

 6          15.     By claiming a license under the Gen2 protocol, NXP has admitted that it is practic-

 7   ing the claims of those patents.

 8          16.     None of the patent claims asserted below are necessary to practice the Gen2 proto-

 9   col.

10          17.     For other of the asserted patents, NXP has not denied that the claims read on its

11   products but claimed that the patents are invalid.

12          18.     NXP cannot establish that any of the asserted patents are invalid.

13          19.     Despite numerous and repeated requests, NXP has refused to meet with Impinj to

14   address its infringement of Impinj’s patents.

15          20.     Impinj was thus forced to file this lawsuit to protect its patent rights.

16                      NXP’S INFRINGEMENT OF U.S. PATENT 10,002,266

17          21.     Impinj owns U.S. Patent No. 10,002,266 (“the ’266 Patent”), which is directed to an

18   RFID IC that inventively reduces its clock frequency while tuning its impedance.

19          22.     Claim 6 of the ’266 Patent reads as follows:

20                  6. A Radio Frequency Identification (RFID) integrated circuit (IC)
                       requiring a minimum clock frequency to operate according to a
21                     protocol (MFOP), a sufficient power to tune a variable imped-
                       ance (SPTT), and a sufficient power to operate according to the
22                     protocol (SPOI) greater than the SPTT, the IC comprising:
23                      a tuning circuit configured to tune the variable impedance during
                        a tuning phase; and
24
                        a processor block configured to:
25
                            in the tuning phase:
26
                                extract a first power at least equal to the SPTT from an
27                              RF wave; cause the tuning circuit to tune the variable im-
                                pedance to increase power extraction from the RF wave;
28                              and
                                                                     SECOND AMENDED COMPLAINT FOR
                                                      -3-                     PATENT INFRINGEMENT
                                                                              Case No. 19-cv-03161-YGR
 1                               operate at a first clock frequency less than the MFOP
                                 while causing the tuning circuit to tune the variable im-
 2                               pedance, wherein the IC is unable to communicate with
                                 an RFID reader according to the protocol while operating
 3                               at the first clock frequency; and

 4                           in a protocol phase subsequent to the tuning phase: extract a
                             second power at least equal to the SPOI from the RF wave;
 5
                                 operate at a second clock frequency greater than or equal
 6                               to the MFOP; and

 7                               communicate with an RFID reader according to the pro-
                                 tocol while operating at the second clock frequency.
 8

 9              23.   Claim 8 of the ’266 Patent reads as follows:
10                    8. The IC of claim 6, wherein the processor block is further config-
                         ured to:
11
                         initially operate in the tuning phase; and
12
                         subsequently operate in the protocol phase.
13

14              24.   Claim 10 of the ’266 Patent reads as follows:
15                    10. The IC of claim 6, further comprising:
16                       a first clock oscillator configured to provide the first clock fre-
                         quency; and
17
                         a second clock oscillator configured to provide the second clock
18                       frequency.
19              25.   NXP’s UCODE 8 IC has each of the elements of claims 6, 8, and 10 of the ’266
20   Patent, including the recited tuning circuit.
21              26.   NXP has directly infringed the ’266 Patent, including at least claims 8 and 10 of the
22   ’266 Patent, by making, importing, selling, and offering for sale UCODE 8 ICs.
23              27.   NXP has continued its infringing activities despite knowledge of the ’266 Patent
24   (including knowledge from correspondence with Impinj), and such infringement is egregious and
25   willful.
26

27

28
                                                                      SECOND AMENDED COMPLAINT FOR
                                                      -4-                      PATENT INFRINGEMENT
                                                                               Case No. 19-cv-03161-YGR
 1                     NXP’S INFRINGEMENT OF U.S. PATENT NO. 9,031,504

 2          28.     Impinj owns U.S. Patent No. 9,031,504 (“the ’504 Patent”), which is directed to an

 3   inventive method of rejecting interference, to be performed by an RFID tag circuit.

 4          29.     Claim 1 of the ’504 Patent reads as follows:

 5                  1. A method for a Radio Frequency Identification (RFID) tag circuit
                       comprising:
 6
                        receiving a modulated wireless RF input signal;
 7
                        deriving a first digital output signal responsive to the modulated
 8                      wireless RF input signal, wherein the first digital output signal
                        comprises a sequence of digital pulses;
 9
                        generating artifact numbers by counting time durations of the
10                      digital pulses: and
11                      deriving a second digital output signal responsive to the first dig-
                        ital output signal at an interference rejection circuit of a RFID tag
12                      circuit by substantially removing digital pulses with artifact num-
                        bers less than a first low number while substantially retaining
13                      digital pulses with artifact numbers greater than the first low
                        number, wherein the first low number corresponds to a first time
14                      duration threshold.
15          30.     Claim 2 of the ’504 Patent reads as follows:

16                  2. The method of claim 1, further comprising determining the first
                       time duration threshold from at least one of a frame-sync tari
17                     symbol encoded in the modulated wireless RF input signal, a data
                       rate associated with the modulated wireless RF input signal, and
18                     a statistic of a characteristic of a received data packet.
19          31.     Claim 7 of the ’504 Patent reads as follows:

20                  7. The method of claim 1, further comprising adjusting the first low
                       number based on at least one aspect associated with the wireless
21                     RF input signal selected from at least one of a preamble, a re-
                       ceived packet, a filtered output signal, a data rate, and an ex-
22                     pected next packet.
23          32.     NXP’s UCODE 7 and UCODE 8 IC perform each of the steps of the methods recited

24   in claims 1, 2, and 7 of the ’504 Patent.

25          33.     NXP has directly infringed the ’504 Patent, including claims 1, 2 and 7 of the ’504

26   Patent, by performing the recited methods through its use of its UCODE 7 and UCODE 8 ICs.

27          34.     NXP has also indirectly infringed the ’504 Patent, including claims 1, 2 and 7 of the

28   ’504 patent, under 35 U.S.C. §§ 271(b) and (c), by supplying its UCODE 7 and UCODE 8 ICs to
                                                                     SECOND AMENDED COMPLAINT FOR
                                                      -5-                     PATENT INFRINGEMENT
                                                                              Case No. 19-cv-03161-YGR
 1   others. The UCODE 7 and UCODE 8 ICs have no substantial non-infringing use, and NXP has

 2   induced its customers to use the UCODE 7 and UCODE 8 ICs in a manner that leads the UCODE

 3   7 and UCODE 8 ICs to perform the patented methods.

 4          35.     In the correspondence exchanged between the parties, NXP has not denied that it is

 5   practicing claims 1, 2, and 7 of the ’504 Patent.

 6          NXP has continued its infringing activities despite knowledge of the ’504 Patent (includ-

 7   ing knowledge from correspondence with Impinj), and such infringement is egregious and willful.

 8                    NXP’S INFRINGEMENT OF U.S. PATENT NO. 9,633,302
 9          36.     Impinj owns U.S. Patent No. 9,633,302 (“the ’302 Patent”), which is directed to an

10   RFID IC with an inventive channel design.

11          37.     Claim 1 of the ’302 Patent reads as follows:

12                  1. A Radio Frequency Identification (RFID) integrated circuit (IC)
                       comprising:
13
                        an IC substrate;
14
                        a first antenna contact disposed on, and confined within a perim-
15                      eter of, a surface of the IC substrate; and
16                      a second antenna contact disposed on, and confined within the
                        perimeter of, the surface of the IC substrate; wherein:
17
                        the first and second antenna contacts are separated by a channel
18                      having a first end, a second end opposite the first end, and a cen-
                        ter between the first end and the second end;
19
                        the channel spans a majority of a width of the IC substrate;
20
                        a first transverse channel cross-section at the first end is substan-
21                      tially the same size as a second transverse channel cross-section
                        at the second end and substantially larger than a third transverse
22                      channel cross-section at the center; and
23                      the channel is shaped to facilitate a fluid flow from the center to
                        the first and second ends.
24

25          38.     Claim 3 of the ’302 Patent reads as follows:

26                  3. The RFID IC of claim 1, wherein the channel has a non-convex
                       shape.
27
            39.     Claim 4 of the ’302 Patent reads as follows:
28
                                                                     SECOND AMENDED COMPLAINT FOR
                                                      -6-                     PATENT INFRINGEMENT
                                                                              Case No. 19-cv-03161-YGR
 1                    4. The RFID IC of claim 1, wherein the channel is substantially
                         symmetric about at least one plane orthogonal to the surface of
 2                       the IC substrate.

 3              40.   Claim 7 of the ’302 Patent reads as follows:
 4                    7. The RFID IC of claim 1, wherein each of the antenna contacts
                         includes:
 5
                         a raised nonconductive structure; and
 6
                         a conductive layer disposed on the raised nonconductive struc-
 7                       ture.
 8              41.   NXP’s UCODE 7 and UCODE 8 ICs have each of the elements of claims 1, 3, 4
 9   and 7 of the ’302 Patent, including the recited channel design.
10              42.   NXP has directly infringed the ’302 Patent, including at least claims 1, 3, 4 and 7 of
11   the ’302 Patent, by making, importing, selling and offering for sale its UCODE 7 and UCODE 8
12   ICs.
13              43.   NXP has continued its infringing activities despite knowledge of the ’302 Patent
14   (including knowledge from correspondence with Impinj), and such infringement is egregious and
15   willful.
16                      NXP’S INFRINGEMENT OF U.S. PATENT NO. 9,495,631
17              44.   Impinj owns U.S. Patent No. 9,495,631 (“the ’631 Patent”), which is directed to an
18   RFID IC with an inventive contact layer structure for facilitating its placement on an inlay to make
19   an RFID tag.
20              45.   Claim 13 of the ’631 Patent reads as follows:
21                    13. A Radio Frequency Identification (RFID) integrated circuit (IC)
                          comprising:
22
                         a plurality of contact islands raised from a surface of the IC and
23                       separated from each other by at least one trench, the at least one
                         trench spanning at least a width of an adjacent contact island, and
24                       the contact islands covering substantially an entire surface area
                         of the IC except for the at least one trench, wherein each contact
25                       island includes:
26                       a nonconductive repassivation layer disposed on the surface of
                         the IC;
27

28
                                                                      SECOND AMENDED COMPLAINT FOR
                                                       -7-                     PATENT INFRINGEMENT
                                                                               Case No. 19-cv-03161-YGR
 1                       a conductive contact layer disposed on and covering the re-
                         passivation layer and confined within a perimeter of the IC; and
 2
                         an electrical coupling between the contact layer and at least one
 3                       of a rectifier, a modulator, and a demodulator in the IC.

 4
                46.   Claim 14 of the ’631 Patent reads as follows:
 5
                      14. The IC of claim 13, wherein the contact layer is metallic and is
 6                        configured to protect the covered repassivation layer during etch-
                          ing.
 7
                47.   Claim 15 of the ’631 Patent reads as follows:
 8
                      15. The IC of claim 13, wherein the electrical coupling of at least one
 9                        of the contact islands is through at least one of:
10                       the repassivation layer of the respective contact island; and
11                       a side contact disposed on a side of the respective contact island.
12
                48.   Claim 16 of the ’631 Patent reads as follows:
13
                      16. The IC of claim 13, wherein the contact layer is configured to
14                        couple to an antenna terminal on an inlay.
15              49.   NXP’s UCODE 7 and UCODE 8 IC have each of the elements recited in claims 13,
16   14, 15, and 16 of the ’631 Patent, including the recited contact islands, trench and repassivation
17   layer.
18              50.   NXP has directly infringed the ’631 Patent, including at least claims 13, 14, 15 and
19   16 of the ’631 Patent, by making, importing, selling and offering for sale of its UCODE 7 and
20   UCODE 8 ICs.
21              51.   In the correspondence exchanged between the parties, NXP has not denied that it is
22   practicing claims 13 and 15 of the ’631 Patent.
23              52.   NXP has continued its infringing activities despite knowledge of the ’631 Patent
24   (including knowledge from correspondence with Impinj), and such infringement is egregious and
25   willful.
26

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                                                                      SECOND AMENDED COMPLAINT FOR
                                                       -8-                     PATENT INFRINGEMENT
                                                                               Case No. 19-cv-03161-YGR
 1                    NXP’S INFRINGEMENT OF U.S. PATENT NO. 8,115,597

 2          53.     Impinj owns U.S. Patent No. 8,115,597 (“the ’597 Patent”), which is directed to an

 3   IC for an RFID tag with an inventive circuit design for a power rectifier.

 4          54.     Claim 1 of the ’597 Patent reads as follows:

 5                  1. A power rectifier for a Radio Frequency Identification tag circuit,
                       comprising:
 6
                        a first antenna input node for receiving a first phase of an alter-
 7                      nating RF wireless signal;
 8                      a second antenna input node for receiving a second phase of the
                        alternating RF wireless signal which is substantially opposite to
 9                      the first phase;
10                      a plurality of serially coupled stages, at least one of the stages
                        including
11
                           a first synchronous element with a first beginning coupled to
12                         receive the second phase and a first ending, the first synchro-
                           nous element including:
13
                               a first transistor having an input terminal at the first be-
14                             ginning, an output terminal, and a gate coupled to receive
                               the first phase; and
15
                               a second transistor having an input terminal, an output
16                             terminal at the first ending, and a gate coupled to receive
                               the second phase, in which the input terminal of the sec-
17                             ond transistor is connected to the output terminal of the
                               first transistor at a first intermediate node so as to form a
18                             first charge-accumulating path between the first begin-
                               ning and the first ending, and there is no charge-accumu-
19                             lating path between the first beginning and the first end-
                               ing other than the first path; and
20
                           a second synchronous element with a second beginning to re-
21                         ceive a first phase and a second ending, the second synchro-
                           nous element including:
22
                               a third transistor having an input terminal at the second
23                             beginning, an output terminal, and a gate coupled to re-
                               ceive the second phase;
24
                               a fourth transistor having an input terminal, an output ter-
25                             minal at the second ending, and a gate coupled to receive
                               the first phase, in which the input terminal of the fourth
26                             transistor is connected to the output terminal of the third
                               transistor at a second intermediate node so as to form a
27                             second charge-accumulating path between the second be-
                               ginning and the second ending, and there is no charge-
28
                                                                    SECOND AMENDED COMPLAINT FOR
                                                     -9-                     PATENT INFRINGEMENT
                                                                             Case No. 19-cv-03161-YGR
 1                    accumulating path between the second beginning and the
                      second ending other than the second path; and
 2
                      in which the second beginning is coupled to the first end-
 3                    ing.

 4   55.   Claim 12 of the ’597 Patent reads as follows:

 5         12. The rectifier of claim 1, in which the first and second intermedi-
               ate nodes are coupled together, and are coupled to ground.
 6
     56.   Claim 13 of the ’597 Patent reads as follows:
 7
           13. A Radio Frequency Identification tag circuit, comprising:
 8
              a first antenna input node for receiving a first phase of an alter-
 9            nating RF wireless signal;

10            a second antenna input node for receiving a second phase of the
              alternating RF wireless signal which is substantially opposite to
11            the first phase;

12            a plurality of serially coupled stages, at least one of the stages
              including:
13
                  a first synchronous element with a first beginning coupled to
14                receive the second phase and a first ending, the first synchro-
                  nous element including:
15
                      a first transistor having an input terminal at the first be-
16                    ginning, an output terminal, and a gate coupled to receive
                      the first phase;
17
                      a second transistor having an input terminal, an output
18                    terminal at the first ending, and a gate coupled to receive
                      the second phase, in which the input terminal of the sec-
19                    ond transistor is connected to the output terminal of the
                      first transistor at a first intermediate node so as to form a
20                    first charge-accumulating path between the first begin-
                      ning and the first ending, and there is no charge-accumu-
21                    lating path between the first beginning and the first end-
                      ing other than the first path; and
22
                  a second synchronous element with a second beginning to re-
23                ceive the first phase and a second ending, the second synchro-
                  nous element including:
24
                      a third transistor having an input terminal at the second
25                    beginning, an output terminal, and a gate coupled to re-
                      ceive the second phase;
26
                      a fourth transistor having an input terminal, an output ter-
27                    minal at the second ending, and a gate coupled to receive
                      the first phase, in which the input terminal of the fourth
28                    transistor is connected to the output terminal of the third
                                                           SECOND AMENDED COMPLAINT FOR
                                           - 10 -                   PATENT INFRINGEMENT
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 1                    transistor at a second intermediate node so as to form a
                      second charge-accumulating path between the second be-
 2                    ginning and the second ending, and there is no charge-
                      accumulating path between the second beginning and the
 3                    second ending other than the second path; and

 4                in which the second beginning is coupled to the first ending.

 5   57.   Claim 15 of the ’597 Patent reads as follows:
 6         15. A rectifier for a Radio Frequency Identification tag circuit, com-
               prising:
 7
              a first antenna input node for receiving a first phase of an alter-
 8            nating RF wireless signal;
 9            a second antenna input node for receiving a second phase of the
              alternating RF wireless signal which is substantially opposite to
10            the first phase;
11            a zeroth stage transistor having an input terminal connected to
              ground, an output terminal, and a gate coupled to receive the first
12            phase;
13            a plurality of serially coupled stages, at least one of the stages
              including:
14
                  a first synchronous element with a first beginning coupled to
15                receive the second phase and a first ending, the first synchro-
                  nous element including:
16
                      a first transistor having an input terminal at the first be-
17                    ginning coupled to the output terminal of the zeroth stage
                      transistor, an output terminal, and a gate coupled to re-
18                    ceive the first phase;
19                    a second transistor having an input terminal, an output
                      terminal at the first ending, and a gate coupled to receive
20                    the second phase, in which the input terminal of the sec-
                      ond transistor is connected to the output terminal of the
21                    first transistor at a first intermediate node so as to form a
                      first charge-accumulating path between the first begin-
22                    ning and the first ending, and there is no charge-accumu-
                      lating path between the first beginning and the first end-
23                    ing other than the first path; and
24                a second synchronous element with a second beginning to re-
                  ceive the first phase and a second ending, the second synchro-
25                nous element including:
26                    a third transistor having an input terminal at the second
                      beginning, an output terminal, and a gate coupled to re-
27                    ceive the second phase;
28
                                                           SECOND AMENDED COMPLAINT FOR
                                           - 11 -                   PATENT INFRINGEMENT
                                                                    Case No. 19-cv-03161-YGR
 1                              a fourth transistor having an input terminal, an output ter-
                                minal at the second ending, and a gate coupled to receive
 2                              the first phase, in which the input terminal of the fourth
                                transistor is connected to the output terminal of the third
 3                              transistor at a second intermediate node so as to form a
                                second charge-accumulating path between the second be-
 4                              ginning and the second ending, and there is no charge-
                                accumulating path between the second beginning and the
 5                              second ending other than the second path; and

 6                          in which the second beginning is coupled to the first ending.

 7          58.     NXP’s UCODE 8 IC has each of the element of claims 1, 12, 13 and 15 of the ’597
 8   Patent, including the recited circuit structure.
 9          59.     NXP has directly infringed the ’597 Patent, including at least claims 1, 12, 13 and
10   15 of the ’597 Patent, by making, importing, selling and offering for sale its UCODE 8 ICs.
11          60.     In the correspondence exchanged between the parties, NXP has not denied that it is
12   practicing claim 13 of the ’597 Patent.
13          61.     On information and belief, NXP has continued its infringing activities despite
14   knowledge of the ’597 Patent (including knowledge from correspondence with Impinj), and such
15   infringement is egregious and willful.
16                     NXP’S INFRINGEMENT OF U.S. PATENT NO. 8,344,857
17          62.     Impinj owns U.S. Patent No. 8,344,857 (“the ’857 Patent”), which is directed to an
18   inventive power rectifier design for an RFID tag.
19          63.     Claim 1 of the ’857 Patent reads as follows:
20                  1. A rectifier for a Radio Frequency Identification tag, comprising:
21                      a first antenna input,
22                      a second antenna input,
23                      first, second, third, and fourth capacitors,
24                      a first transistor including an input terminal, an output terminal,
                        and a gate, and
25
                        a second transistor of a type complementary to the first transistor
26                      and including
27                      an input terminal, an output terminal, and a gate, wherein,
28
                                                                       SECOND AMENDED COMPLAINT FOR
                                                        - 12 -                  PATENT INFRINGEMENT
                                                                                Case No. 19-cv-03161-YGR
 1                the input terminal of the first transistor is coupled to a begin-
                  ning node,
 2
                  the output terminal of the first transistor is coupled to an av-
 3                eraging node,

 4                the input terminal of the second transistor is coupled to the
                  averaging node,
 5
                  the output terminal of the second transistor is coupled to an
 6                ending node,

 7                the first antenna input is coupled to the gate of the first tran-
                  sistor and to the ending node,
 8
                  the second antenna input is coupled to the gate of the second
 9                transistor and to the beginning node,

10                the first antenna input is coupled to the ending node via the
                  first capacitor,
11
                  the second antenna input is coupled to the beginning node via
12                the second capacitor,

13                the first antenna input is coupled to the gate of the first tran-
                  sistor via the third capacitor, and
14
                  the second antenna input is coupled to the gate of the second
15                transistor via the fourth capacitor.

16   64.   Claim 3 of the ’857 Patent reads as follows:
17         3. The rectifier of claim 1, further comprising a third transistor in-
              cluding an input terminal, an output terminal, and a gate, wherein
18            the input terminal of the third transistor is coupled to a ground
              node, the output terminal of the third transistor is coupled to the
19            beginning node, and the gate of the third transistor is coupled to
              the first antenna input.
20

21   65.   Claim 4 of the ’857 Patent reads as follows:
22         4. The rectifier of claim 3, wherein the second and third transistors
              are of the same type.
23

24   66.   Claim 6 of the ’857 Patent reads as follows:
25         6. A rectifier for a Radio Frequency Identification tag, comprising:
26            a first antenna input,
27            a second antenna input,
28
                                                           SECOND AMENDED COMPLAINT FOR
                                           - 13 -                   PATENT INFRINGEMENT
                                                                    Case No. 19-cv-03161-YGR
 1            first, second, third, fourth, and fifth capacitors,

 2            a first transistor including an input terminal, an output terminal,
              and a gate,
 3
              a second transistor of a complementary type to the first transistor
 4            and including

 5            an input terminal, an output terminal, and a gate, and

 6            a third transistor including an input terminal, an output terminal,
              and a gate, wherein:
 7
                  the input terminal of the first transistor is coupled to a begin-
 8                ning node,

 9                the output terminal of the first transistor is coupled to an av-
                  eraging node,
10
                  the input terminal of the second transistor is coupled to the
11                averaging node,

12                the output terminal of the second transistor is coupled to an
                  ending node,
13
                  the input terminal of the third transistor is coupled to a ground
14                node,

15                the output terminal of the third transistor is coupled to the
                  beginning node,
16
                  the first antenna input is coupled to the gate of the first tran-
17                sistor, the gate of the third transistor, and the ending node,

18                the second antenna input is coupled to the gate of the second
                  transistor and the beginning node,
19
                  the first antenna input is coupled to the ending node via the
20                first capacitor,

21                the second antenna input is coupled to the beginning node via
                  the second capacitor,
22
                  the first antenna input is coupled to the gate of the first tran-
23                sistor via the third capacitor and the gate of the third transistor
                  via the fifth capacitor, and|
24
                  the second antenna input is coupled to the gate of the second
25                transistor via the fourth capacitor.

26
     67.   Claim 7 of the ’857 Patent reads as follows:
27
           7. The rectifier of claim 6, further comprising:
28
                                                             SECOND AMENDED COMPLAINT FOR
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                                                                      Case No. 19-cv-03161-YGR
 1                      a fourth transistor including an input terminal, an output terminal,
                        and a gate, and
 2
                        a fifth transistor of a complementary type to the fourth transistor
 3                      and the first transistor, and including an input terminal, an output
                        terminal, and a gate, wherein:
 4
                        the input terminal of the fourth transistor is coupled to the ending
 5                      node,

 6                      the output terminal of the fourth transistor is coupled to a second
                        averaging node,
 7
                        the input terminal of the fifth transistor is coupled to the second
 8                      averaging node,

 9                      the output terminal of the fifth transistor is coupled to a second
                        ending node,
10
                        the first antenna input is further coupled to the gate of the fifth
11                      transistor, and

12                      the second antenna input is further coupled to the gate of the
                        fourth transistor and the second ending node.
13
            68.     Claim 8 of the ’857 Patent reads as follows:
14
                    8. The rectifier of claim 7, further comprising a sixth capacitor cou-
15                     pling the second antenna input to the second ending node.
16
            69.     Claim 9 of the ’857 Patent reads as follows:
17
                    9. The rectifier of claim 8, further comprising seventh and eight ca-
18                     pacitors, wherein:
19                      the first antenna input is coupled to the gate of the fifth transistor
                        via the seventh capacitor, and
20
                        the second antenna input is coupled to the gate of the fourth tran-
21                      sistor via the eighth capacitor.
22          70.     NXP’s UCODE 7 and UCODE 8 ICs have each of the elements of claims 1, 3, 4, 6,
23   7, 8, and 9 of the ’857 Patent, including the recited circuit design.
24          71.     NXP has directly infringed the ’857 Patent, including at least claims1, 4, 6 and 9 of
25   the ’857 Patent, by making, importing, selling and offering for sale its UCODE 7 and UCODE 8
26   ICs.
27

28
                                                                      SECOND AMENDED COMPLAINT FOR
                                                      - 15 -                   PATENT INFRINGEMENT
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 1          72.     In the correspondence exchanged between the parties, NXP has not denied that it is

 2   practicing claims 3, 4, 6, 7, 8, and 9 of the ’857 Patent.

 3          NXP has continued its infringing activities despite knowledge of the ’857 Patent (includ-

 4   ing knowledge from correspondence with Impinj), and such infringement is egregious and willful.

 5                                        REQUEST FOR RELIEF

 6          WHEREFORE, Impinj requests the following relief:

 7          (1)     A preliminary and permanent injunction enjoining NXP and its officers, agents,

 8   servants, employees, attorneys and any other persons who are in active concert or participation

 9   with such persons, from making, selling, using, offering for sale or importing its UCODE 8 IC or

10   any other IC that is not colorably different;

11          (2)     For an award of damages, including lost profits, no less than a reasonable royalty

12   under 35 U.S.C. § 284 arising from such infringement;

13          (3)     For increased damages pursuant to 35 U.S.C. § 285 or as otherwise permitted by

14   law;

15          (4)     For an award of attorneys’ fees and costs pursuant to 35 U.S.C. § 285 or as other-

16   wise permitted by law; and

17          (5)     For such other relief as the Court deems just and proper.

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                                                                   SECOND AMENDED COMPLAINT FOR
                                                      - 16 -                PATENT INFRINGEMENT
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